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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                 )
OPEN PARKING, LLC                                )
                                                 )   Civil Action No: 2:15-cv-00299-CB
                   Plaintiff,                    )
                                                 )
         v.                                      )   JURY TRIAL DEMANDED
                                                 )
STREETLINE, INC.                                 )
                                                 )
                   Defendant.                    )
                                                 )


                                NOTICE OF DISMISSAL WITH PREJUDICE

         AND NOW comes the plaintiff above-named, and by its counsel, provides notice

pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure that the above-captioned

matter is dismissed with prejudice.

                                                           Respectfully submitted,

                                                           STANLEY M. STEIN, P.C.

                                                           By: /s/ Stanley M. Stein
                                                               Stanley M. Stein, Esq.
                                                               Pa ID # 10577
                                                               445 Ft. Pitt Blvd.
                                                               Suite 150
                                                               Pittsburgh, PA 15219
                                                               412-904-4573 (p)
                                                               412-904-4726 (f)
                                                               smstein@smsteinlaw.com




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